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EXHIBIT B
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SETTLEMENT AGREEMENT

This Agreement ("Agreement") is made and entered into by and

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between W.R. GRACE & CO.-CONN: ("Grace") and ROYAL INDEMNITY

COMPANY ("Royal").

RECITALS

WHEREAS, Royal issued certain comprehensive general liability
insurance policies to the Zonolite Company ("Zonolite") covering
ten consecutive one-year periods from March 31, 1953 through April
1, 1963; and

WHEREAS, Grace acquired Zonolite in 1963 and, in connection
with certain products sold by Zonolite, Grace, as successor 'to'':-
gonolite, has been, is and expects to be in the future, a defendant
in numerous asbestos-related claims and lawsuits asserted by or on’
behalf of persons alleging (1) bedily injury, sickness, disease

and/or death as a result of an exposure to asbestos or asbestos~

containing materials, and (2) damages for injury or damage to

buildings and property allegedly caused by asbestos or asbestos-
containing materials, all such claims and lawsuits being hereafter
referred to as "Asbestos-Related Claims"; and

WHEREAS, Royal is a party to an action pending in the United

States District Court for the Seuthern District of New York

entitled Maryland Casualty Company v. W.R. Grace & Co., No. 83 Civ.

7451 (the "New York Primary Action") in which Grace, Maryland

Casualty Company ("Maryland") and Continental Casualty Company

("CNA"} contend that they have certain rights under the insurance

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polices issued by Royal relating to insurance coverage for

Asbestos~-Related Claims; and
WHEREAS, in connection with the New York Primary Action,
pursuant to a Settlement Agreement dated May 2, 1994 (the "May 1994

Agreement"), Royal, Grace, Maryland and CNA agreed upon the

existence and content of the "Primary Policies" (as hereinafter
defined) but did not resolve the disputes and differences as to
their respective rights and obligations under the Primary Policies
relative to Asbestos-Related Claims; and .

WHEREAS, Grace has demanded that Royal must defend and
indemnify Grace under the Primary Policies with respect to past,
pending and future Asbestos-Related Claims except for amounts
previously paid on behalf of Grace or reimbursed to Grace by Other
Insurers (as hereinafter defined);

WHEREAS, Royal disputes the existence and extent of any
obligation to defend or indemnify Grace under the Primary Policies
with respect to past, pending and future Asbestos-Related Claims;

WHEREAS, Grace and Royal have entered into this Agreement to
resolve and compromise their disputes concerning coverage for
Asbestos-Related Claims and Products Claims (as hereinafter
defined) and to avoid the uncertainty and expense attendant to such
disputes and the related litigation, but, in doing so, neither

Grace nor Royal admit in any way the validity of any positions or

arguments advanced by the other or by any third party.

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NOW, THEREFORE, in consideration of the mutual covenants and

subject to the terms and conditions herein contained, Grace and

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Royal hereby agree as follows:

I. DEFINITIONS:
As used in this Agreement, the following terms shall have the

meanings set forth in this Article l.

1.0 Aggregate Products Limits of Liability means Royal’s

total aggregate limits of liability for all bodily injury claims
and property damage claims included within the term "Products
Hazard" under the Primary Policies.

1.1 Primary Policies means the

general liability insurance policies sold by Royal to Zonolite:

following comprehensive

RLG27635 (3/31/53 - 3/31/54)
RLG31840 (3/31/54 - 4/1/55)
RLGO35805 (4/1/55 - 4/1/56)
REGO45762 (4/1/56 - 4/1/57)
RLGO45836 {4/1/57 - 4/1/58)
RLGO53959 (4/1/58 ~ 4/1/59)
RLGO2Z1629 (4/1/59 - 4/1/60)
RLGO21620 (4/1/60 ~- 4/1/61)
RLGO21621 (4/1/61 - 4/1/62)
RLGO21622 (4/1/62 - 4/1/63)
1.2 "Products Claims" shall mean any Asbestos~-Related Clain

and any other claim, demand, or lawsuit for bodily injury or

property damage falling within the "Products Hazard" definition of
the Primary Policies, regardless of the cause of action or theory
of recovery or coverage employed by the person asserting such
claims (including claims based upon a failure to warn) or the cause

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of action or theory of coverage employed by Grace or any other

Person with respect to such claims.

1.3 "Person" means any individual, administrator, executor or

legal representative, corporation, partnership, association, trust,

government unit at any level of government, agency, or other

entity. Whehever the context so requires, the singular use of the

term Person shall include the plural and vice versa,

1.4 "Defense Expenses" shall mean all reasonable = and
necessary counsel fees which have been or will be incurred by Grace

to defend Products Claims, and other reasonable and necessary

expenses (such as court costs, witness fees, transcript costs, and

expert fees) which have been or will be incurred by Grace and are

directly attributable to the defense of Products Claims. Defense

Expenses shall not include any fees or expenses incurred by Grace
in connection with its efforts to document or establish insurance

coverage (through litigation or otherwise), to investigate
insurance issues or negotiate this Agreement or any other Agreement
or arrangement with any Other Insurer, nor shall Defense Expenses
include any sums within the definition of Lass.

1.5 Losst shall mean all sums Grace has paid or will pay in
the future in settlement of Products Claims, or in satisfaction of
judgments entered with respect to such Claims, including, without
limitation, any interest Grace may be required to pay thereon. For

purposes of this Agreement only, Loss shall not include any sums

within the definition of Defense Expenses.

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1.6 "Other Claims" means any actual, potential or threatened

claim of which Grace has knowledge or otherwise has been put on

notice which involves, or is alleged to involve, Zonolite or a

Zonolite product, but "Other Claims" does not include Asbestos-

Related Claims, Products Claims or claims falling within the

Aggregate Products Limits of Liability.

1.7 “Other Ingureds" shall mean any person who has claimed,

is claiming and/or claims in the future to be insured or covered
under the Primary Policies, and any Person identified in any of the
Primary Policies as a named insured, additional named insured or

additional insured, including any former or current directors,

officers or employees of any such insured.

1.8 "Other Insurer" shall mean any insurer other than Royal
which at any time issues or issued (or is at any time alleged to
have issued) an insurance policy of any kind whatsoever to Grace,
gZonolite, any Zonolite subsidiary or any licensee of Zonolite or

its subsidiaries or any Other Insureds.

II. SETTLEMENT PAYMENT: =
2.0 Royal agrees to pay Grace the sum ae in full

satisfaction of Royal's alleged obligation -to indemnify Grace,
Zonolite, and any Other Insureds for Loss arising out of Products
Claims under the Primary Policies and in full satisfaction of
Royal's alleged obligation to defend Grace, Zzonolite or any Other

Insureds or to pay Defense Expenses arising out of Products Claims

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under the Primary Policies. such payment shall be made within

three (3) days of the Effective Date by means of a wire transfer to
the account of Grace at Chemical Bank - New York (ABA #021~-000-128;

Account Name ~- W.R. Grace & Co.; Account # 016-001257) or to such

other account as may be specified by Grace in a written notice to

Royal in accordance with Section XX.

IIi. CANCELLATTON OF COVERAGE

Grace hereby agrees to the cancellation of all insurance

3.0
coverage for Products Claims under the Primary Policies, effective

as of the Effective Date, in exchange for a payment by Royal to
Grace in the amount of a: provided in Section 2.0.
The cancellation of insurance coverage for Product Claims under the
Primary Policies shall not affect the rights and obligations of
Grace and Royal under the Primary Policies with respect to
insurance coverage for claims that are not Product Claims.

3.1 If Royal fails to make all or any portion of the payment
to Grace provided for in Section 2.0 on or before the due date
thereof, Royal shall pay interest to Grace on the unpaid amount

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thereof for the period commencing on the daté {such iambupg was due

and ending on the actual date of payment at a rate of interest
equal to five percentage points over the rate of interest announced

from time to time by the main office of Citibank N.A. in New York,

NY as its "prime rate".

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IV. SPECIFIC RELEASE BY GRACE

4.0 Except for the obligations set forth in this Agreement,

Grace hereby releases and forever discharges Royal of and from any

and all actions, causes of action in law or in equity, suits,

debts, liens, contracts, indemnity and defense obligations,
agreements, promises, liabilities, claims, demands, losses, costs
or axpenses of any kind or nature, known or unknown, fixed or
contingent, direct or indirect, which Grace now has or may have

against Royal in any way relating to the New York Primary Action

and/or payment or handling of Asbestos-Related Claims and other

Product Claims under the Primary Policies, including, but not

limited to, any alleged or potential claim for breach of the

covenant of good faith and @air dealing, unfair claims practices or

punitive damages.

4.1 Grace hereby withdraws all requests, demands and tenders

for indemnity, Loss, Defense Expenses, reimbursement costs of any
nature, payments, benefits or obligations heretofore submitted to
Royal for Products Claims under the Primary Policies and does
hereby covenant and agree to forever relinquish and abandon any and
all rights, whether actual or alleged, known or unknown, accrued or

unaccrued, for any coverage of Products Claims under the Primary

Policies. Tt is the express intent of the Parties that this

Agreement shall operate to release and forever discharge Royal to
the fullest extent possible under law from any and all obligations

(past, present, existing or future, actual or alleged, known or

unknown, accrued or unaccrued) to Grace, Zonolite, Other Insureds

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on whose behalf Grace is authorized to act and any Person (except
for any Other Insurer) making a claim by, through or derived from

Grace, for Products Claims under the Primary Policies.

4.2 Nothing in this Agreement shall release or impair any
claim Maryland or General Insurance Company of America may have for

the recovery of Defense Expenses these insurers paid or incurred to

or on behalf of Grace.

Vv. SPECIFIC RELFASE BY ROYAL
5.0 Except as to the obligations set forth in this Agreement,

Royal hereby releases and forever discharges Grace of and from any

and all actions, causes of action in law or in equity, suits,

debts, liens, contracts, indemnity and defense obligations,

agreements, promises, liabilities, claims, demands, losses, costs

or expenses of any kind or nature, known or unknown, fixed or

contingent, direct or indirect, which Royal now has or may have
against Grace in any way relating to the New York Primary Action or
otherwise relating to claims by Grace under the Primary Policies

for coverage with respect to Asbestos-Related Claims or other

Products Claims.

RIGHT OF RECOVERY AGAINST OTHER INSURERS

VI.
6.0 Royal shall not have the right to seek recovery from any

Other Insurer (as defined herein) for the settlement payment made

by Royal to Grace under Section 2.0.

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VIT. EXHAUSTION
7.0 Grace acknowledges that the payment made by Royal under

Section 2.0 of this Agreement represents and shall he conclusively
deemed for all purposes to be a full and final payment and complete

exhaustion of the Aggregate Products Limits of Liability under the

Primary Policies.

Viti. COMPLETE FULFILLMENT OF OBLIGATIONS

8.0 Grace further acknowledges that this Agreement represents

the fulfillment of Royal’s entire obligation te Grace for Products

Claims under the Primary Policies.

Ix. INDEMNIFTCATION BY GRACE

9.0 In the event that any Other Insured or any Person {except

any Other Insurer including, without limitation, Maryland, CNA and
General Insurance Company of America) makes Products Claims under

the Primary Policies (including without limitation claims pursuant

to a direct~action statute, garnishment proceeding, third-party

suit, or otherwise) against Royal, Grace will indemnify and hold
harmless Royal from any and all liability imposed upon, or costs or

expenses incurred by, Royal in connection with such claims,

provided, however, that if such claimant is not an Other Insured,

such total aggregate indemnification for any liability imposed for

all such claims will be limited te $6,000,000,

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9.1 In the event a claim is made against Royal for which
Royal is to be indemnified for liability, costs and expenses as

provided in paragraph 9.0 above, Royal shall give written notice of

such claim to Grace as soon as is practical. Grace at its own

expense shall assume the defense of Royal for such claims,
including the hiring of counsel for such defense. In the event

Grace fails or refuses to retain counsel within a reasonable time
to defend Royal, Royal may retain counsel and Grace will he
required to pay promptly all reasonable attorneys’ fees and other
costs and expenses incurred in connection with Royal’s defense.
9.2 In the event a claim is made against Royal for which

Royal is to be indemnified for costs and expenses only, as provided

in paragraph 9.0 above, Royal shall give written notice of such

Royal may retain counsel for

all

claim to Grace as soon as practical.
such claims and Grace will be required to pay promptly

reasonable attorneys fees and other costs and expenses incurred in

connection with Royal’s defense.

x. NO ADMISSION; RESERVATION OF RIGHTS
10.0 This Agreement is the product of informed negotiations

between the parties assisted by counsel and involves compromises of

previously stated legal positions. This Agreement does not

necessarily reflect the view of either of the parties as to its
rights and obligations with regard to matters outside of this

Agreement. For all other purposes and in all other matters, each

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party reserves all previously held positions and all other rights

and privileges.

10.1 All actions taken and statements made by the parties
hereto or their representatives relating to their participation in
this Agreement, including its development and implementation, are

taken and made in the context of privileged settlement

negotiations, shall be without prejudice or value as precedent and
shall not be taken as the standard by which other matters may be

judged or against which other matters may be compared, This

Agreement is the product of arm’s length negotiations. It is the
compromise of disputed claims, and it is not intended to be, nor
shall it be construed as, an admission of coverage or as a policy

interpretation. Neither this Agreement nor any statement made by

a party in negotiating this Agreement shall be used in court, or
formal or informal dispute resolution proceedings, or otherwise, to
create or interpret any obligation by a party under the Primary
Policies or any other insurance policy. Royal does not admit
coverage by entering into this Agreement and enters into it for
business reasons and in the spirit of compromise.

10.2 Royal and Grace request all courts to take netice of the
underlying purpose of this Agreement as described in Section 10.1,
and to accord the parties and their representatives full privilege
and protection with respect to the disclosure of their actions,

statements, documents, papers and dther materials relating to this

Agreement, including its development and implementation.

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XI. NO THIRD PARTY RIGHTS; NO ASSIGNMENT
11.0 No persons other than Grace and Royal shall have any

rights under this Agreement. No party may assign this Agreement

nor any of its rights, benefits or obligations hereunder without
the prior written consent of the other party hereto, which consent

shall not be unreasonably withheld.

XIT. ENTIRE AGREEMENT
12.0 This Agreement between Grace and Royal together with the

May 2, 1994 Agreement constitute the entire agreement among Grace

and Royal relating to coverage for Product Claims under the Primary

Policies. All antecedent or contemporaneous extrinsic

representations, warranties or collateral provisions concerning the

negotiation and preparation of this Agreement are intended to be

discharged and nullified.

XITI. INTERPRETATION OF AGREEMENT

13.0 This Agreement is not a contract of insurance and the
parties agree that it shall not be interpreted according to the

rules of construction applicable to insurance contracts. In

particular, with respect to interpretation of this Agreement, each
of the parties has been represented by counsel and no part of this

Agreement shall be construed against any party on the basis of the

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party's identity. as an insurance company or as drafter of any part

of this Agreement.

XIV. REPRESENTATIONS AND WARRANTIES

14.0 Grace hereby represents and warrants to Royal as follows:

(a)

(b)

{c)

(qd)

Grace is a corporation, duly organized, validly
existing and in good standing under the laws of its
jurisdiction of incorporation with full corporate
power and authority to enter into this Agreement
and perform its obligations hereunder.

The execution and delivery of this Agreement by
Grace and the performance by Grace of its
obligations hereunder have been duly authorized by
all necessary corporate action on the part of
Grace.

This Agreement has been duly executed and validly
delivered by Grace and constitutes a valid and
binding obligation of Grace enforceable against
Grace in accordance with its terms.

The execution and delivery of this Agreement by
Grace and the performance by Grace of its
obligations hereunder will not violate any
provision of its charter or by-laws or any consent

or order of any governmental authority by which it

may be bound.

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Grace hereby represents and warrants that it has no
knowledge of Other Claims which have been tendered,
filed, asserted, are pending, or have been
threatened against Grace, Zonolite or any Other
Insured which would implicate any of the Primary
Policies. Nothing in this Settlement Agreement
shall preclude Grace from submitting any Other
Claims to Royal for payment under the Primary
Policies and nothing in this Settlement Agreement
shall limit or preclude any defenses which Royal

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might otherwise have to such Other Claims,

14.1 Royal hereby represents and warrants to Grace as follows:

(a)

(b)

(c)

Royal is a corporation, duly organized, validly
existing and in good standing under the laws of its
Jurisdiction of incorporation with full corporate
power and authority to enter into this Agreement
and perform its obligations hereunder.

The execution and delivery of this Agreement by
Royal and the performance by Royal of tits
obligations hereunder have been duly authorized by
all necessary corporate action on the part of
Royal.

This Agreement has been duly executed and validly
delivered by Royal and constitutes a valid and
binding obligation of Royal, enforceable against

Royal in accordance with its terms.

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fd) The execution and delivery of this Agreement by
Royal and the performance by Royal of its
obligations ‘hereunder will not violate any
provision of the charter or by-laws of Royal or any

consent or order of any governmental authority by

which Royal may be bound.

14.2 Each party agrees as to its own breach of any warranty

expressly stated in this Agreement to indemnify and hold

harmless the other party.

XV. DISMES SALS
15.0 Within fifteen days following receipt by Grace of the

settlement payment provided for in Section 2.0, Grace shall deliver

to Royal an executed Dismissal with Prejudice of all claims brought

by Grace against Royal in the New York Primary Action. Royal will

filie and serve said Dismissal with Prejudice. Said Dismissal with

Prejudice shall indicate that each party will bear its own

attorneys’ fees and costs in connection with the New York Primary

Action.
15.1 Within fifteen days following receipt by Grace of the

settlement payment provided for in Section 2.0, Royal shall deliver

to Grace an executed Dismissal with Prejudice of all claims brought

by Royal against Grace in the New York Primary Action. Grace will

file and serve said Dismissal with Prejudice. Said Dismissal with

Prejudice shall indicate that each party will bear its own

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attorneys’ fees and costs in connection with the New York Primary

Action.

XVI. COOPERATION
16.0 In the event any proceedings are commenced to invalidate

all or any part of this Agreement, the Parties do mutually agree to

cooperate fully in the opposition to such proceedings. The Parties

further agree to cooperate fully, if necessary, to prove exhaustion
of the Aggregate Products Limits of Liability of the Primary

Policies. In the event that, as a result of such proceedings, ali

or any part of this Agreement is invalidated and a claim is made
against the Parties to this Agreement, all defenses ever available

to the Parties under the Primary Policies are neither waived nor

impaired, but are fully preserved.
16.1 Grace agrees that it will not take a position in the New
York Action, or in any other litigation involving Asbestos-Related

Claims under the Primary Policies, with respect to (a) whether

Royal had an obligation to defend or indemnify Grace, Zonolite or

any Other Insured for Asbestos-Related Claims, and (b) whether

Royal has any obligation to CNA, Maryland or General Insurance

Company of America or any Other Insurers for contribution,

indemnity or subrogation by reason of the Primary Policies.

Nothing herein shall prohibit Grace, or its employees or agents,

from responding fully and truthfully to properly served and noticed

discovery or from giving full and truthful testimony pursuant to

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proper service of a subpoena before a court or tribunal or by court
erder or direction.

16.2 Grace acknowledges that Royal may require information
concerning Asbestos-Related Claims and other Product Claims for
purposes of establishing its rights against its reinsurers. Grace

shall cooperate reasonably with Royal for such purposes by

providing, when requested by Royal, non-privileged information

about the progress of the litigation of such claims and access to

non-privileged documentation with respect thereto.

XVIZ. EFFECTIVE DATE

17.0 This Agreement shall become effective as to each party

from and after the date (the "Effective Date") the last party shall

have executed this Agreement.

XVIII. PUBLIC DISCLOSURE AND CONFIDENTIALITY

18.0 Each party may make public disclosure of the existence of

this Agreement by means of a press release or otherwise. Such

disclosure may describe this Agreement in general terms including
the amount of the settlement payment, but any such disclosure by

Grace shall omit the identity of Royal. Royal and Grace shall hold

the detailed terms of this Agreement in confidence and shall not
reveal any of the same to any person or entity whatsoever except

that either party may disclose the terms of this Agreement in

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accordance with the

following provisions if it deems such

disclosure necessary or advisable:

(a)

(b)

(c)

(a)

(@)

The terms of this Agreement may be disclosed by a
party with the consent of the other party hereto.
The terms of this Agreement may be disclosed to the
extent required in connection with any disputes,
claims or actions between Royal and Grace
concerning their respective rights and obligations
under this Agreement or in any action to enforce
the terms of this Agreement.

The terms of this Agreement may be disclosed to the
extent required by court order issued by a judge or
magistrate.

The terms of this Agreement may be disclosed by
Royal to its reinsurers, including said reinsurers’
attorneys, employees, auditors, agents and
retrocessionaires, and any persons, arbitrators and
judges, federal or state, which may be involved in
the reinsurance collection process or issues
relating to the collection of reinsurance, subject
te appropriate assurances of confidentiality.

The terms of this Agreement may be disclosed by
Grace to the extent necessary to obtain insurance

coverage from an entity other than Royal, subject

to appropriate assurances of confidentiality.

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The parties may make copies of this Agreement
available to their respective accountants, counsel,
lenders or underwriters, and to counsel for such
lenders or underwriters, subject to appropriate
assurances of confidentiality.

The parties to this Agreement may make reference to
or describe this Agreement in its filings with the
Securities and Exchange Commission and to the
extent that such disclosure is required to comply
with any other government, regulatory or
accounting/auditing requirement applicable to such
party, but shall not make available a copy of this
Agreement nor identify the other party to this
Agreement unless compelled to do so by a court or
governmental agency or similar regulatory body.
Each party may make copies of this Agreement
available to its key officers, directors and
employees and to the key officers, directors and
employees of its affiliates.

The parties may make copies of this Agreement
available to their respective attorneys, auditors

and consultants, subject to appropriate assurances

of confidentiality.
Each party may make copies of this Agreement

available to any federal or state authorities or

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other entities to which it may have an obligation

to report or disclose.

The parties shall cooperate and take such steps as are
advisable or necessary to protect the confidentiality of the terns
of this Agreement. Each party shall notify the other promptly
after a request for disclosure not covered by the above-recited

exceptions has been made, so that protective action may be taken.

XIX. NO FURTHER TENDER OF ASBESTOS-RELATED
CLAIMS OR PRODUCTS CLAIMS

19.0 Grace agrees that no further Asbestos-Related Claims or
Products Claims will be presented or tendered by Grace to Royal

under the Primary Policies for any reason or purpose regardless of

the theory of coverage.

XX. NOTICE
20.0 All notices, bills, demands, payments or other

communications which either party desires or is required to give,
shall be given in writing and shall be deemed to have been given if
hand delivered, sent by Certified U.S. Mail or by courier service,
addressed to the other party at the address set forth below or such
other address as such other party may designate in writing from

time to time by notice in accordance with this Section:

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If to Grace:

W.R. Grace & Co,
One Town Center Road
Boca Raton, Florida 33486-1010

Attn: Secretary
If to Royal:

Royal Insurance
9300 Arrowpoint Boulevard

Charlotte, North Carolina 28270

Attention: Vice President Liability Claims

XXI. AMENDMENTS; WATVER
21.0 This Agreement may be amended, modified, superseded or

cancelled, and any of the terms hereof may be waived, only by a

written instrument which specifically states that it amends,

modifies, supersedes or cancels this Agreement, executed by each of
the parties or, im the case of a waiver, by or on behalf of the
party waiving compliance. The failure of any party at any time or

to require performance of any provision of this Agreement

times
shail in no manner affect the right at a later time to enforce the
same. No waiver by any party of any condition, or of any breach of

any term, covenant, representation or warranty contained in this
Agreement, in any one or more instances, shall be deemed to be or
construed as a further or continuing waiver of any such condition

or breach, or a waiver of any other condition or of any breach of

any other term, covenant or warranty.

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XXILT. CAPTIONS

22.0 The captions contained in this Agreement are for

convenient reference only and shall not in any way affect the

meaning or interpretation of this Agreement.

XXIIT. COUNTERPARTS
Agreement may be executed in two or more

23.0 This
counterparts, each of which shall constitute one and the same

instrument.

IN WITNESS WHEREOF, this Agreement has been read and signed by

the duly authorized officers of the parties, effective as of the

Effective Date.

W.R. GRACE & CO-CONN.

By kg (~ann~
paca I fetal
Date LCT SL

ROYAL INDEMNITY COMPANY
c ~

By Mahal 4

Title Wer, “es. oS

Date Lelie” vs

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